Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6212 Page 1 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6213 Page 2 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6214 Page 3 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6215 Page 4 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6216 Page 5 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6217 Page 6 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6218 Page 7 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6219 Page 8 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6220 Page 9 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6221 Page 10 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6222 Page 11 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6223 Page 12 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6224 Page 13 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6225 Page 14 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6226 Page 15 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6227 Page 16 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6228 Page 17 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6229 Page 18 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6230 Page 19 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6231 Page 20 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6232 Page 21 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6233 Page 22 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6234 Page 23 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6235 Page 24 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6236 Page 25 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6237 Page 26 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6238 Page 27 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6239 Page 28 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6240 Page 29 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6241 Page 30 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6242 Page 31 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6243 Page 32 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6244 Page 33 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6245 Page 34 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6246 Page 35 of 36
Case 2:12-cv-00591-BSJ Document 288 Filed 05/02/13 PageID.6247 Page 36 of 36
